                  Case 14-40294                     Doc 1           Filed 11/06/14 Entered 11/06/14 09:16:59                                                 Desc Main
B1 (Official Form 1) (04/13)                                          Document     Page 1 of 44
                                                 United States Bankruptcy Court
                                                NORTHERN DISTRICT OF ILLINOIS                                                                                    Voluntary Petition
                                                 EASTERN DIVISION (CHICAGO)
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Coles, Cary

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-8576                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
659 N. Carpenter St.
Chicago, IL
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            60642
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
COOK
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
659 N. Carpenter St.
Chicago, IL
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            60642
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
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                 Case 14-40294                    Doc 1           Filed 11/06/14 Entered 11/06/14 09:16:59                                         Desc Main
B1 (Official Form 1) (04/13)                                        Document     Page 2 of 44                                                                                    Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Cary Coles
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Jeffrey M. Jacobson                                            11/6/2014
                                                                                                 Jeffrey M. Jacobson                                                   Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                Case 14-40294                     Doc 1           Filed 11/06/14 Entered 11/06/14 09:16:59                                            Desc Main
B1 (Official Form 1) (04/13)                                        Document     Page 3 of 44                                                                                      Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Cary Coles
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Cary Coles
      Cary Coles
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     11/6/2014
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Jeffrey M. Jacobson                                                               defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Jeffrey M. Jacobson                              Bar No. 6205762                       have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Law Offices of Jeffrey M. Jacobson P.C.
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 903 Commerce Drive                                                                          given the debtor notice of the maximum amount before preparing any document
 Suite 160                                                                                   for filing for a debtor or accepting any fee from the debtor, as required in that
 Oak Brook, IL 60523                                                                         section. Official Form 19 is attached.


          (331) 222-9529
 Phone No.______________________ Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     11/6/2014
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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          Case 14-40294              Doc 1      Filed 11/06/14 Entered 11/06/14 09:16:59                          Desc Main
B 1D (Official Form 1, Exhibit D) (12/09)
                                                  Document     Page 4 of 44
                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                               EASTERN DIVISION (CHICAGO)
In re:   Cary Coles                                                                      Case No.
                                                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
          Case 14-40294              Doc 1     Filed 11/06/14 Entered 11/06/14 09:16:59                        Desc Main
B 1D (Official Form 1, Exhibit D) (12/09)
                                                 Document     Page 5 of 44
                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                               EASTERN DIVISION (CHICAGO)
In re:   Cary Coles                                                                   Case No.
                                                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Cary Coles
                       Cary Coles

Date:        11/6/2014
            Case 14-40294            Doc 1   Filed 11/06/14 Entered 11/06/14 09:16:59                                  Desc Main
                                               Document     Page 6 of 44
B6A (Official Form 6A) (12/07)



In re Cary Coles                                                             Case No.
                                                                                                                  (if known)



                                         SCHEDULE A - REAL PROPERTY


                                                                                                               Current Value




                                                                                     Husband, Wife, Joint,
                                                                                                                of Debtor's
                   Description and                          Nature of Debtor's




                                                                                       or Community
                                                                                                                 Interest in
                     Location of                           Interest in Property
                                                                                                             Property, Without    Amount Of
                      Property                                                                                                   Secured Claim
                                                                                                              Deducting Any
                                                                                                              Secured Claim
                                                                                                               or Exemption


  None




                                                                                  Total:                                $0.00
                                                                                  (Report also on Summary of Schedules)
             Case 14-40294               Doc 1        Filed 11/06/14 Entered 11/06/14 09:16:59          Desc Main
B6B (Official Form 6B) (12/07)
                                                        Document     Page 7 of 44


In re Cary Coles                                                                        Case No.
                                                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                          Husband, Wife, Joint,
                                                                                                                                  Current Value of
                                                                                                                                  Debtor's Interest




                                                                                                            or Community
                                                                                                                                     in Property,

             Type of Property               None              Description and Location of Property
                                                                                                                                  Without Deducting
                                                                                                                                    any Secured
                                                                                                                                       Claim or
                                                                                                                                      Exemption

1. Cash on hand.                            X

2. Checking, savings or other finan-        X
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-      X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,         X
including audio, video and computer
equipment.

5. Books; pictures and other art            X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                                clothing                                                     -                         $500.00


7. Furs and jewelry.                        X

8. Firearms and sports, photo-              X
graphic, and other hobby equipment.

9. Interests in insurance policies.         X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name             X
each issuer.
              Case 14-40294               Doc 1     Filed 11/06/14 Entered 11/06/14 09:16:59           Desc Main
B6B (Official Form 6B) (12/07) -- Cont.
                                                      Document     Page 8 of 44


In re Cary Coles                                                                       Case No.
                                                                                                    (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                         Continuation Sheet No. 1




                                                                                                         Husband, Wife, Joint,
                                                                                                                                 Current Value of
                                                                                                                                 Debtor's Interest




                                                                                                           or Community
                                                                                                                                    in Property,

             Type of Property                None            Description and Location of Property
                                                                                                                                 Without Deducting
                                                                                                                                   any Secured
                                                                                                                                      Claim or
                                                                                                                                     Exemption


11. Interests in an education IRA as         X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,          X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-          X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint       X
ventures. Itemize.

15. Government and corporate bonds           X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                     X

17. Alimony, maintenance, support,           X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to           X
debtor including tax refunds. Give
particulars.
              Case 14-40294               Doc 1     Filed 11/06/14 Entered 11/06/14 09:16:59           Desc Main
B6B (Official Form 6B) (12/07) -- Cont.
                                                      Document     Page 9 of 44


In re Cary Coles                                                                       Case No.
                                                                                                    (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                         Continuation Sheet No. 2




                                                                                                         Husband, Wife, Joint,
                                                                                                                                 Current Value of
                                                                                                                                 Debtor's Interest




                                                                                                           or Community
                                                                                                                                    in Property,

             Type of Property                None            Description and Location of Property
                                                                                                                                 Without Deducting
                                                                                                                                   any Secured
                                                                                                                                      Claim or
                                                                                                                                     Exemption


19. Equitable or future interests, life      X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent             X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-            X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other           X
intellectual property. Give
particulars.

23. Licenses, franchises, and other          X
general intangibles. Give particulars.

24. Customer lists or other compilations     X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,           X
and other vehicles and accessories.

26. Boats, motors, and accessories.          X
              Case 14-40294               Doc 1      Filed 11/06/14 Entered 11/06/14 09:16:59                           Desc Main
B6B (Official Form 6B) (12/07) -- Cont.
                                                      Document     Page 10 of 44


In re Cary Coles                                                                              Case No.
                                                                                                                     (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 3




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

             Type of Property                 None               Description and Location of Property
                                                                                                                                                  Without Deducting
                                                                                                                                                    any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          3           continuation sheets attached   Total >                              $500.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
              Case 14-40294             Doc 1        Filed 11/06/14 Entered 11/06/14 09:16:59                           Desc Main
B6C (Official Form 6C) (4/13)
                                                      Document     Page 11 of 44


In re Cary Coles                                                                               Case No.
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 clothing                                                735 ILCS 5/12-1001(b)                                    $500.00                 $500.00

                                                         735 ILCS 5/12-1001(a), (e)                                  $0.00




* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                                  $500.00                 $500.00
            Case 14-40294            Doc 1                  Filed 11/06/14 Entered 11/06/14 09:16:59                                   Desc Main
                                                             Document     Page 12 of 44
B6D (Official Form 6D) (12/07)
          In re Cary Coles                                                                               Case No.
                                                                                                                                       (if known)



                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                        DATE CLAIM WAS                               AMOUNT OF          UNSECURED




                                                                                                                  UNLIQUIDATED
           MAILING ADDRESS                                                        INCURRED, NATURE                                 CLAIM            PORTION, IF




                                                                                                                   CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                    DISPUTED
       INCLUDING ZIP CODE AND                                                        OF LIEN, AND                                 WITHOUT              ANY
         AN ACCOUNT NUMBER                                                         DESCRIPTION AND                               DEDUCTING
         (See Instructions Above.)                                                     VALUE OF                                   VALUE OF
                                                                                  PROPERTY SUBJECT                               COLLATERAL
                                                                                        TO LIEN




                                                                                         Subtotal (Total of this Page) >                   $0.00               $0.00
                                                                                        Total (Use only on last page) >                     $0.00               $0.00
________________continuation
       No                    sheets attached                                                                                     (Report also on    (If applicable,
                                                                                                                                 Summary of         report also on
                                                                                                                                 Schedules.)        Statistical
                                                                                                                                                    Summary of
                                                                                                                                                    Certain Liabilities
                                                                                                                                                    and Related
                                                                                                                                                    Data.)
              Case 14-40294              Doc 1        Filed 11/06/14 Entered 11/06/14 09:16:59                                Desc Main
                                                       Document     Page 13 of 44
B6E (Official Form 6E) (04/13)

In re Cary Coles                                                                                  Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
            Case 14-40294            Doc 1      Filed 11/06/14 Entered 11/06/14 09:16:59                                                Desc Main
                                                 Document     Page 14 of 44
B6F (Official Form 6F) (12/07)
  In re Cary Coles                                                                                                  Case No.
                                                                                                                               (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                       DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                         INCURRED AND                                  CLAIM




                                                                                                                                      CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                    CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                              CLAIM.
             (See instructions above.)                                                             IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxx1463                                                              DATE INCURRED:   05/12/2007
                                                                                      CONSIDERATION:
CAP ONE                                                                               Credit Card                                                       $3,298.00
PO BOX 85520                                                                          REMARKS:
                                                                   -
RICHMOND, VA 23285



ACCT #: xxxx5864                                                                      DATE INCURRED:   10/25/2013
                                                                                      CONSIDERATION:
ENHANCED RECOVERY CO L                                                                Collection Attorney                                               $1,557.00
8014 BAYBERRY RD                                                                      REMARKS:
                                                                   -
JACKSONVILLE, FL 32256



ACCT #: xxxxx1607                                                                     DATE INCURRED:   02/20/2012
                                                                                      CONSIDERATION:
GRANT & WEBER                                                                         Collection Attorney                                                  $68.00
861 CORONADO CENTER DR S                                                              REMARKS:
                                                                   -
HENDERSON, NV 89052



ACCT #:                                                                               DATE INCURRED:   6/2/10
                                                                                      CONSIDERATION:
Harris NA                                                                             Judgment                                                        $994,089.00
70 W. Madison #3500                                                                   REMARKS:
                                                                   -
Chicago, IL 60602                                                                     2010-L-50901 Judgment



ACCT #: xxxx0001                                                                      DATE INCURRED:   09/11/2008
                                                                                      CONSIDERATION:
MAGE & PRICE                                                                          Collection                                                        $4,984.00
707 LAKE COOK ROAD SUITE 314                                                          REMARKS:
                                                                   -
DEERFIELD, IL 60015



ACCT #: xxxxxx4445                                                                    DATE INCURRED:   12/09/2011
                                                                                      CONSIDERATION:
MIDLAND FUNDING                                                                       Factoring Company Account                                         $2,879.00
8875 AERO DR STE 200                                                                  REMARKS:
                                                                   -
SAN DIEGO, CA 92123



                                                                                                                                 Subtotal >           $1,006,875.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       2                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-40294             Doc 1        Filed 11/06/14 Entered 11/06/14 09:16:59                                                Desc Main
                                                     Document     Page 15 of 44
B6F (Official Form 6F) (12/07) - Cont.
  In re Cary Coles                                                                                                      Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxx6073                                                                        DATE INCURRED:   08/08/2013
                                                                                          CONSIDERATION:
MIDLAND FUNDING                                                                           Factoring Company Account                                        $1,104.00
8875 AERO DR STE 200                                                                      REMARKS:
                                                                       -
SAN DIEGO, CA 92123



ACCT #: xxxxxx4240                                                                        DATE INCURRED:   07/13/2012
                                                                                          CONSIDERATION:
MIDLAND FUNDING                                                                           Factoring Company Account                                          $924.00
8875 AERO DR STE 200                                                                      REMARKS:
                                                                       -
SAN DIEGO, CA 92123



ACCT #: xxxxxx3567                                                                        DATE INCURRED:   07/19/2008
                                                                                          CONSIDERATION:
NORDSTROM FSB                                                                             Charge Account                                                   $1,961.00
PO BOX 6555                                                                               REMARKS:
                                                                       -
ENGLEWOOD, CO 80155



ACCT #: xxx8382                                                                           DATE INCURRED:   09/24/2011
                                                                                          CONSIDERATION:
PAYLIANCE                                                                                 Returned Check                                                     $183.00
3 EASTON OVAL STE 210                                                                     REMARKS:
                                                                       -
COLUMBUS, OH 43219



ACCT #: xxx9990                                                                           DATE INCURRED:   04/29/2014
                                                                                          CONSIDERATION:
PINNACLE CREDIT SERVIC                                                                    Factoring Company Account                                          $724.00
7900 HIGHWAY 7 # 100                                                                      REMARKS:
                                                                       -
SAINT LOUIS PARK, MN 55426



ACCT #: xxxxxx-xxxxxxxxx0393                                                              DATE INCURRED:   06/27/2013
                                                                                          CONSIDERATION:
PORTFOLIO RECOVERY ASS                                                                    Factoring Company Account                                        $3,016.00
120 CORPORATE BLVD STE 1                                                                  REMARKS:
                                                                       -
NORFOLK, VA 23502



Sheet no. __________
              1        of __________
                               2     continuation sheets attached to                                                                 Subtotal >             $7,912.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-40294             Doc 1        Filed 11/06/14 Entered 11/06/14 09:16:59                                                Desc Main
                                                     Document     Page 16 of 44
B6F (Official Form 6F) (12/07) - Cont.
  In re Cary Coles                                                                                                      Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                           DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                             INCURRED AND                                  CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                        CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                  CLAIM.
             (See instructions above.)                                                                 IF CLAIM IS SUBJECT TO
                                                                                                          SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:   6/15/11
                                                                                          CONSIDERATION:
PRIVATEBANK TRUST COMPANY                                                                 Collecting for - loan                                         $1,206,985.00
c/o Murray Jensen Wilson Ltd                                                              REMARKS:
                                                                       -
101 N. Wacker Drive                                                                       loan
Chicago, IL 60606

ACCT #: xxxx8179                                                                          DATE INCURRED:   04/28/2012
                                                                                          CONSIDERATION:
SW CRDT SYS                                                                               Collection                                                        $1,837.00
5910 W PLANO PKWY SUITE 100                                                               REMARKS:
                                                                       -
PLANO, TX 75093



ACCT #: xxxxx3015                                                                         DATE INCURRED:   11/29/2010
                                                                                          CONSIDERATION:
THE BUREAUS INC                                                                           Collection Attorney                                                 $206.00
1717 CENTRAL ST                                                                           REMARKS:
                                                                       -
EVANSTON, IL 60201




Sheet no. __________
              2        of __________
                               2     continuation sheets attached to                                                                 Subtotal >           $1,209,028.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                       $2,223,815.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-40294           Doc 1       Filed 11/06/14 Entered 11/06/14 09:16:59                        Desc Main
B6G (Official Form 6G) (12/07)
                                                  Document     Page 17 of 44
   In re Cary Coles                                                                     Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
              Case 14-40294               Doc 1        Filed 11/06/14 Entered 11/06/14 09:16:59                               Desc Main
B6H (Official Form 6H) (12/07)
                                                        Document     Page 18 of 44
In re Cary Coles                                                                                   Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
             Case 14-40294               Doc 1       Filed 11/06/14 Entered 11/06/14 09:16:59                                     Desc Main
                                                      Document     Page 19 of 44
 Fill in this information to identify your case:
     Debtor 1              Cary                                        Coles
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing post-petition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation
      Include part-time, seasonal,
      or self-employed work.            Employer's name

      Occupation may include            Employer's address
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00




Official Form B 6I                                            Schedule I: Your Income                                                                page 1
             Case 14-40294                          Doc 1             Filed 11/06/14 Entered 11/06/14 09:16:59 Desc Main
Debtor 1 Cary
                                                                       Document
                                                                             Coles
                                                                                    Page 20 of 44Case number (if known)
            First Name                          Middle Name                        Last Name


                                                                                                                        For Debtor 1                  For Debtor 2 or
                                                                                                                                                      non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00
     5e. Insurance                                                                                              5e.                  $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00
     5g. Union dues                                                                                             5g.                  $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.                  $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

     8b. Interest and dividends                                                                                 8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                              8d.                  $0.00
     8e. Social Security                                                                                        8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.                   $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                              10.                  $0.00        +                       =           $0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                     11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                     12.                 $0.00
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                              Combined
                                                                                                                                                                              monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form B 6I                                                                  Schedule I: Your Income                                                                            page 2
             Case 14-40294              Doc 1         Filed 11/06/14 Entered 11/06/14 09:16:59                                  Desc Main
                                                       Document     Page 21 of 44
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Cary                                          Coles                               An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS                                  MM / DD / YYYY
     Case number                                                                                               A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,000.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1
            Case 14-40294                 Doc 1    Filed 11/06/14 Entered 11/06/14 09:16:59 Desc Main
Debtor 1 Cary
                                                    Document
                                                          Coles
                                                                 Page 22 of 44Case number (if known)
            First Name              Middle Name             Last Name


                                                                                              Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans         5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                 6a.

     6b. Water, sewer, garbage collection                                               6b.

     6c. Telephone, cell phone, Internet, satellite, and                                6c.                    $65.00
         cable services
     6d. Other. Specify:                                                                6d.

7.   Food and housekeeping supplies                                                     7.                    $200.00
8.   Childcare and children's education costs                                           8.

9.   Clothing, laundry, and dry cleaning                                                9.

10. Personal care products and services                                                 10.

11. Medical and dental expenses                                                         11.

12. Transportation. Include gas, maintenance, bus or train                              12.
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                       13.
    magazines, and books
14. Charitable contributions and religious donations                                    14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                             15a.

     15b.    Health insurance                                                           15b.

     15c.    Vehicle insurance                                                          15c.

     15d.    Other insurance. Specify:                                                  15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                            16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                 17a.

     17b.    Car payments for Vehicle 2                                                 17b.

     17c.    Other. Specify:                                                            17c.

     17d.    Other. Specify:                                                            17d.

18. Your payments of alimony, maintenance, and support that you did not report as       18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                            19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                20a.

     20b.    Real estate taxes                                                          20b.

     20c.    Property, homeowner's, or renter's insurance                               20c.

     20d.    Maintenance, repair, and upkeep expenses                                   20d.

     20e.    Homeowner's association or condominium dues                                20e.


 Official Form B 6J                                         Schedule J: Your Expenses                            page 2
           Case 14-40294             Doc 1       Filed 11/06/14 Entered 11/06/14 09:16:59 Desc Main
Debtor 1 Cary
                                                  Document
                                                        Coles
                                                               Page 23 of 44Case number (if known)
           First Name             Middle Name              Last Name


21. Other. Specify:                                                                                          21.    +
22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.         $1,265.00
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.            $0.00
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –    $1,265.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.       ($1,265.00)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                           page 3
             Case 14-40294             Doc 1        Filed 11/06/14 Entered 11/06/14 09:16:59                 Desc Main
B 6 Summary (Official Form 6 - Summary) (12/13)
                                                     Document     Page 24 of 44
                                             UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF ILLINOIS
                                                EASTERN DIVISION (CHICAGO)
   In re Cary Coles                                                                  Case No.

                                                                                     Chapter      7



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes      1                       $0.00


 B - Personal Property                            Yes      4                    $500.00


 C - Property Claimed                             Yes      1
     as Exempt
 D - Creditors Holding                            Yes      1                                               $0.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      1                                               $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      3                                       $2,223,815.00
     Nonpriority Claims
 G - Executory Contracts and                      Yes      1
    Unexpired Leases

 H - Codebtors                                    Yes      1


 I - Current Income of                            Yes      2                                                                     $0.00
     Individual Debtor(s)

 J - Current Expenditures of                      Yes      3                                                                 $1,265.00
    Individual Debtor(s)

                                             TOTAL         18                   $500.00            $2,223,815.00
             Case 14-40294            Doc 1       Filed 11/06/14 Entered 11/06/14 09:16:59                    Desc Main
B 6 Summary (Official Form 6 - Summary) (12/13)
                                                   Document     Page 25 of 44
                                             UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF ILLINOIS
                                                EASTERN DIVISION (CHICAGO)
   In re Cary Coles                                                                   Case No.

                                                                                      Chapter       7



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:
 Average Income (from Schedule I, Line 12)                                         $0.00

 Average Expenses (from Schedule J, Line 22)                                   $1,265.00

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $1,666.00

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                  $0.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                        $2,223,815.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                    $2,223,815.00
             Case 14-40294            Doc 1      Filed 11/06/14 Entered 11/06/14 09:16:59                       Desc Main
                                                  Document     Page 26 of 44
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Cary Coles                                                                       Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 20
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 11/6/2014                                               Signature    /s/ Cary Coles
                                                                         Cary Coles

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
              Case 14-40294                Doc 1        Filed 11/06/14 Entered 11/06/14 09:16:59                                Desc Main
                                                         Document     Page 27 of 44
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF ILLINOIS
                                                     EASTERN DIVISION (CHICAGO)
   In re:   Cary Coles                                                                               Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        20000                       1/1/14-current

        -85,987                     2013 loss from business

        -85990                      2012 loss from business

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
              Case 14-40294               Doc 1        Filed 11/06/14 Entered 11/06/14 09:16:59                                Desc Main
                                                        Document     Page 28 of 44
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION (CHICAGO)
   In re:   Cary Coles                                                                             Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 1



       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.


       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
              Case 14-40294                Doc 1        Filed 11/06/14 Entered 11/06/14 09:16:59                               Desc Main
                                                         Document     Page 29 of 44
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF ILLINOIS
                                                     EASTERN DIVISION (CHICAGO)
   In re:   Cary Coles                                                                              Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 2



       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.


       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.
              Case 14-40294                Doc 1        Filed 11/06/14 Entered 11/06/14 09:16:59                                  Desc Main
                                                         Document     Page 30 of 44
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF ILLINOIS
                                                     EASTERN DIVISION (CHICAGO)
   In re:   Cary Coles                                                                               Case No.
                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within TWO YEARS immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
              Case 14-40294                Doc 1         Filed 11/06/14 Entered 11/06/14 09:16:59                                  Desc Main
                                                          Document     Page 31 of 44
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF ILLINOIS
                                                     EASTERN DIVISION (CHICAGO)
   In re:   Cary Coles                                                                                Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
       commencement of this case.


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
       preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]
I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 11/6/2014                                                          Signature           /s/ Cary Coles
                                                                        of Debtor           Cary Coles

Date                                                                    Signature
                                                                        of Joint Debtor
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
             Case 14-40294               Doc 1         Filed 11/06/14 Entered 11/06/14 09:16:59                         Desc Main
  B 8 (Official Form 8) (12/08)
                                                        Document     Page 32 of 44

                                                UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF ILLINOIS
                                                   EASTERN DIVISION (CHICAGO)
  IN RE:     Cary Coles                                                                       CASE NO

                                                                                              CHAPTER      7

                        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary.)


 Property No.   1

 Creditor's Name:                                                                 Describe Property Securing Debt:
 None




 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt


PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)


 Property No.       1
 Lessor's Name:                                                Describe Leased Property:                       Lease will be Assumed pursuant to
 None                                                                                                          11 U.S.C. § 365(p)(2):

                                                                                                               YES              NO




I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.



Date 11/6/2014                                                       Signature    /s/ Cary Coles
                                                                                 Cary Coles




Date                                                                 Signature
            Case 14-40294             Doc 1        Filed 11/06/14 Entered 11/06/14 09:16:59                         Desc Main
                                                    Document     Page 33 of 44
                                           UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF ILLINOIS
                                              EASTERN DIVISION (CHICAGO)
IN RE:     Cary Coles                                                                      CASE NO

                                                                                          CHAPTER       7

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                       $750.00
     Prior to the filing of this statement I have received:                                             $750.00
     Balance Due:                                                                                           $0.00

2. The source of the compensation paid to me was:
                  Debtor                       Other (specify)

3. The source of compensation to be paid to me is:
                  Debtor                       Other (specify)

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

         I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                        11/6/2014                             /s/ Jeffrey M. Jacobson
                          Date                                Jeffrey M. Jacobson                           Bar No. 6205762
                                                              Law Offices of Jeffrey M. Jacobson P.C.
                                                              903 Commerce Drive
                                                              Suite 160
                                                              Oak Brook, IL 60523
                                                              Phone: (331) 222-9529



      /s/ Cary Coles
     Cary Coles
           Case 14-40294          Doc 1      Filed 11/06/14 Entered 11/06/14 09:16:59                   Desc Main
                                              Document     Page 34 of 44
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION (CHICAGO)
  IN RE:   Cary Coles                                                                  CASE NO

                                                                                   CHAPTER       7

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 11/6/2014                                           Signature    /s/ Cary Coles
                                                                     Cary Coles



Date                                                     Signature
Case 14-40294   Doc 1   Filed 11/06/14 Entered 11/06/14 09:16:59   Desc Main
                         Document     Page 35 of 44


                        CAP ONE
                        PO BOX 85520
                        RICHMOND, VA 23285



                        ENHANCED RECOVERY CO L
                        8014 BAYBERRY RD
                        JACKSONVILLE, FL 32256



                        GRANT & WEBER
                        861 CORONADO CENTER DR S
                        HENDERSON, NV 89052



                        Harris NA
                        70 W. Madison #3500
                        Chicago, IL 60602



                        MAGE & PRICE
                        707 LAKE COOK ROAD SUITE 314
                        DEERFIELD, IL 60015



                        MIDLAND FUNDING
                        8875 AERO DR STE 200
                        SAN DIEGO, CA 92123



                        NORDSTROM FSB
                        PO BOX 6555
                        ENGLEWOOD, CO 80155



                        PAYLIANCE
                        3 EASTON OVAL STE 210
                        COLUMBUS, OH 43219



                        PINNACLE CREDIT SERVIC
                        7900 HIGHWAY 7 # 100
                        SAINT LOUIS PARK, MN 55426
Case 14-40294   Doc 1   Filed 11/06/14 Entered 11/06/14 09:16:59   Desc Main
                         Document     Page 36 of 44


                        PORTFOLIO RECOVERY ASS
                        120 CORPORATE BLVD STE 1
                        NORFOLK, VA 23502



                        PRIVATEBANK TRUST COMPANY
                        c/o Murray Jensen Wilson Ltd
                        101 N. Wacker Drive
                        Chicago, IL 60606


                        SW CRDT SYS
                        5910 W PLANO PKWY SUITE 100
                        PLANO, TX 75093



                        THE BUREAUS INC
                        1717 CENTRAL ST
                        EVANSTON, IL 60201
          Case 14-40294            Doc 1       Filed 11/06/14 Entered 11/06/14 09:16:59                        Desc Main
                                                Document     Page 37 of 44
B22A (Official Form 22A) (Chapter 7) (04/13)                        According to the information required to be entered on this statement
In re: Cary Coles                                                   (check one box as directed in Part I, III, or VI of this statement):
                                                                              The presumption arises.
Case Number:                                                                  The presumption does not arise.
                                                                              The presumption is temporarily inapplicable.


      CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in
Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete
separate statements if they believe this is required by § 707(b)(2)(C).

                                    Part I. MILITARY AND NON-CONSUMER DEBTORS
       Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part 1A, (1) check the box at the
       beginning of the Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3)
       complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.

 1A         Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
       defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
       defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. § 901(1)).

       Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification
       in Part VIII. Do not complete any of the remaining parts of this statement.
 1B

            Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
       Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of
       the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1))
       after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in
       32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the time of active
       duty or homeland defense activity and for 540 days thereafter (the "exclusion period"). If you qualify for this temporary
       exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of Reservists and
       National Guard Members below, (2) check the box for "The presumption is temporarily inapplicable" at the top of this
       statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required to complete the
       balance of this form, but you must complete the form no later than 14 days after the date on which your exclusion
       period ends, unless the time for filing a motion raising the means test presumption expires in your case before your
       exclusion period ends.


           Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
 1C
       below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
       component of the Armed Forces or the National Guard

              a.    I was called to active duty after September 11, 2001, for a period of at least 90 days and
                              I remain on active duty /or/
                              I was released from active duty on                    , which is less than 540 days before this bankruptcy
              case was filed;
                        OR

              b.     I am performing homeland defense activity for a period of at least 90 days /or/
                     I performed homeland defense activity for a period of at least 90 days, terminating on                       , which
                     is less than 540 days before this bankruptcy case was filed.




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          Case 14-40294            Doc 1       Filed 11/06/14 Entered 11/06/14 09:16:59                         Desc Main
                                                Document     Page 38 of 44
B22A (Official Form 22A) (Chapter 7) (04/13)

                    Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a.       Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
       b.       Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
                are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
 2
                Complete only Column A ("Debtor's Income") for Lines 3-11.
       c.       Married, not filing jointly, without the declaration of separate households set out in Line 2.b above.
                Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
       d.       Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for
                Lines 3-11.
       All figures must reflect average monthly income received from all sources, derived
                                                                                                               Column A        Column B
       during the six calendar months prior to filing the bankruptcy case, ending on the last day
       of the month before the filing. If the amount of monthly income varied during the six
                                                                                                                Debtor's       Spouse's
       months, you must divide the six-month total by six, and enter the result on the
                                                                                                                 Income         Income
       appropriate line.

 3     Gross wages, salary, tips, bonuses, overtime, commissions.                                                 $0.00
       Income from the operation of a business, profession, or farm. Subtract Line b from
       Line a and enter the difference in the appropriate column(s) of Line 4. If you operate
       more than one business, profession or farm, enter aggregate numbers and provide
 4
       details on an attachment. Do not enter a number less than zero. Do not include any part
       of the business expenses entered on Line b as a deduction in Part V.
         a.   Gross receipts                                          $1,666.00
         b.   Ordinary and necessary business expenses                    $0.00
         c.   Business income                                    Subtract Line b from Line a                   $1,666.00

       Rent and other real property income. Subtract Line b from Line a and enter the
       difference in the appropriate column(s) of Line 5. Do not enter a number less than zero.
       Do not include any part of the operating expenses entered on Line b as a deduction in
 5     Part V.
        a. Gross receipts                                                $0.00
         b.   Ordinary and necessary operating expenses                   $0.00
         c.   Rent and other real property income                Subtract Line b from Line a                      $0.00
 6     Interest, dividends, and royalties.                                                                        $0.00
 7     Pension and retirement income.                                                                             $0.00
       Any amounts paid by another person or entity, on a regular basis, for the household
       expenses of the debtor or the debtor's dependents, including child support paid for
 8     that purpose. Do not include alimony or separate maintenance payments or amounts
       paid by your spouse if Column B is completed. Each regular payment should be reported
       in only one column; if a payment is listed in Column A, do not report that payment in
                                                                                                                  $0.00
       Column B.
       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
       However, if you contend that unemployment compensation received by you or your
       spouse was a benefit under the Social Security Act, do not list the amount of such
 9     compensation in Column A or B, but instead state the amount in the space below:

         Unemployment compensation claimed to be a                     Debtor            Spouse
         benefit under the Social Security Act                         $0.00                                      $0.00




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          Case 14-40294             Doc 1      Filed 11/06/14 Entered 11/06/14 09:16:59                          Desc Main
                                                Document     Page 39 of 44
B22A (Official Form 22A) (Chapter 7) (04/13)
       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Do not include alimony or separate maintenance
       payments paid by your spouse if Column B is completed, but include all other
       payments of alimony or separate maintenance. Do not include any benefits received
 10    under the Social Security Act or payments received as a victim of a war crime, crime
       against humanity, or as a victim of international or domestic terrorism.

         a.

         b.
       Total and enter on Line 10                                                                                  $0.00
       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
 11                                                                                                             $1,666.00
       and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).
       Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
 12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
       completed, enter the amount from Line 11, Column A.                                                              $1,666.00

                                     Part III. APPLICATION OF § 707(b)(7) EXCLUSION
 13    Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12
       and enter the result.                                                                                                  $19,992.00
       Applicable median family income. Enter the median family income for the applicable state and household
       size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
 14
       court.)

       a. Enter debtor's state of residence:             Illinois           b. Enter debtor's household size:       1         $47,469.00
       Application of Section 707(b)(7). Check the applicable box and proceed as directed.
              The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not
 15           arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.
              The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                          Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                     Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16    Enter the amount from Line 12.
       Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
       Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
       debtor's dependents. Specify in the lines below the basis for excluding the Column B income (such as
       payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the
       debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional
 17    adjustments on a separate page. If you did not check box at Line 2.c, enter zero.

         a.

         b.

        c.
       Total and enter on Line 17.
 18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.

                                Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                        Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
       National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS
       National Standards for Food, Clothing and Other Items for the applicable number of persons. (This
 19A   information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
       number of persons is the number that would currently be allowed as exemptions on your federal income
       tax return, plus the number of any additional dependents whom you support.




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          Case 14-40294            Doc 1       Filed 11/06/14 Entered 11/06/14 09:16:59                        Desc Main
                                                Document     Page 40 of 44
B22A (Official Form 22A) (Chapter 7) (04/13)
      National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
      Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
      for Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
      www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
      persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are
      65 years of age or older. (The applicable number of persons in each age category is the number in that
      category that would currently be allowed as exemptions on your federal income tax return, plus the number
      of any additional dependents whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for
 19B
      persons under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for
      persons 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
      amount, and enter the result in Line 19B.

         Persons under 65 years of age                             Persons 65 years of age or older

         a1.    Allowance per person                               a2.   Allowance per person

         b1.    Number of persons                                  b2.   Number of persons

         c1.    Subtotal                                           c2.   Subtotal

       Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
       and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
 20A   information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
       family size consists of the number that would currently be allowed as exemptions on your federal income
       tax return, plus the number of any additional dependents whom you support.
       Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
       IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable
       family size consists of the number that would currently be allowed as exemptions on your federal income
       tax return, plus the number of any additional dependents whom you support); enter on Line b the total of
 20B   the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b
       from Line a and enter the result in Line 20B. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.    IRS Housing and Utilities Standards; mortgage/rental expense
         b.    Average Monthly Payment for any debts secured by your home, if
               any, as stated in Line 42
         c.    Net mortgage/rental expense                                              Subtract Line b from Line a.
       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
       and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
       Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
 21
       for your contention in the space below:




       Local Standards: transportation; vehicle operation/public transportation expense.
       You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
       operating a vehicle and regardless of whether you use public transportation.
 22A   Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 8.
          0       1      2 or more.
       If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:                    $184.00
       Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS
       Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
       Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
       of the bankruptcy court.)




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          Case 14-40294            Doc 1       Filed 11/06/14 Entered 11/06/14 09:16:59                        Desc Main
                                                Document     Page 41 of 44
B22A (Official Form 22A) (Chapter 7) (04/13)
       Local Standards: transportation; additional public transportation expense.
       If you pay the operating expenses for a vehicle and also use public transportation, and you contend that
       you are entitled to an additional deduction for your public transportation expenses, enter on Line 22B the
 22B
       "Public Transportation" amount from IRS Local Standards: Transportation. (This amount is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
       Local Standards: transportation ownership/lease expense; Vehicle 1.
       Check the number of vehicles for which you claim an ownership/lease expense. (You may not claim an
       ownership/lease expense for more than two vehicles.)
          1        2 or more.
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
 23
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
       Line a and enter the result in Line 23. DO NOT ENTER AN AMOUNT LESS THAN ZERO.
         a.   IRS Transportation Standards, Ownership Costs
         b.   Average Monthly Payment for any debts secured by Vehicle 1, as
              stated in Line 42
         c.   Net ownership/lease expense for Vehicle 1                                 Subtract Line b from Line a.

       Local Standards: transportation ownership/lease expense; Vehicle 2.
       Complete this Line only if you checked the "2 or more" Box in Line 23.
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
 24    Line a and enter the result in Line 24. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Transportation Standards, Ownership Costs
         b.   Average Monthly Payment for any debts secured by Vehicle 2, as
              stated in Line 42
         c.   Net ownership/lease expense for Vehicle 2                                 Subtract Line b from Line a.
       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
       federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-
 25    employment taxes, social-security taxes, and Medicare taxes. DO NOT INCLUDE REAL ESTATE OR
       SALES TAXES.
       Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
       payroll deductions that are required for your employment, such as retirement contributions, union dues,
 26    and uniform costs. DO NOT INCLUDE DISCRETIONARY AMOUNTS, SUCH AS VOLUNTARY 401(K)
       CONTRIBUTIONS.
       Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
 27    for term life insurance for yourself. DO NOT INCLUDE PREMIUMS FOR INSURANCE ON YOUR
       DEPENDENTS, FOR WHOLE LIFE OR FOR ANY OTHER FORM OF INSURANCE.
       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
 28    required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
       payments. DO NOT INCLUDE PAYMENTS ON PAST DUE OBLIGATIONS INCLUDED IN LINE 44.
       Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
       Enter the total average monthly amount that you actually expend for education that is a condition of
 29    employment and for education that is required for a physically or mentally challenged dependent child for
       whom no public education providing similar services is available.
       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
 30    childcare--such as baby-sitting, day care, nursery and preschool. DO NOT INCLUDE OTHER
       EDUCATIONAL PAYMENTS.

       Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
 31    on health care that is required for the health and welfare of yourself or your dependents, that is not
       reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered
       in Line 19B. DO NOT INCLUDE PAYMENTS FOR HEALTH INSURANCE OR HEALTH SAVINGS
       ACCOUNTS LISTED IN LINE 34.




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          Case 14-40294              Doc 1     Filed 11/06/14 Entered 11/06/14 09:16:59                        Desc Main
                                                Document     Page 42 of 44
B22A (Official Form 22A) (Chapter 7) (04/13)
       Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
       you actually pay for telecommunication services other than your basic home telephone and cell phone
 32    service--such as pagers, call waiting, caller id, special long distance, or internet service--to the extent
       necessary for your health and welfare or that of your dependents. DO NOT INCLUDE ANY AMOUNT
       PREVIOUSLY DEDUCTED.
 33    Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.

                                      Subpart B: Additional Living Expense Deductions
                            Note: Do not include any expenses that you have listed in Lines 19-32
       Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
       expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
       spouse, or your dependents.
         a.   Health Insurance
 34      b.   Disability Insurance
         c.   Health Savings Account
       Total and enter on Line 34
       IF YOU DO NOT ACTUALLY EXPEND THIS TOTAL AMOUNT, state your actual total average monthly
       expenditures in the space below:


       Continued contributions to the care of household or family members. Enter the total average actual
       monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
 35    elderly, chronically ill, or disabled member of your household or member of your immediate family who is
       unable to pay for such expenses.
       Protection against family violence. Enter the total average reasonably necessary monthly expenses that
       you actually incurred to maintain the safety of your family under the Family Violence Prevention and
 36    Services Act or other applicable federal law. The nature of these expenses is required to be kept
       confidential by the court.

       Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
       Local Standards for Housing and Utilities, that you actually expend for home energy costs. YOU MUST
 37    PROVIDE YOUR CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU
       MUST DEMONSTRATE THAT THE ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

       Education expenses for dependent children less than 18. Enter the total average monthly expenses that
       you actually incur, not to exceed $156.25* per child, for attendance at a private or public elementary or
 38    secondary school by your dependent children less than 18 years of age. YOU MUST PROVIDE YOUR
       CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU MUST EXPLAIN
       WHY THE AMOUNT CLAIMED IS REASONABLE AND NECESSARY AND NOT ALREADY ACCOUNTED
       FOR IN THE IRS STANDARDS.

       Additional food and clothing expense. Enter the total average monthly amount by which your food and
       clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the
       IRS National Standards, not to exceed 5% of those combined allowances. (This information is available
 39    at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) YOU MUST DEMONSTRATE THAT THE
       ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
 40    cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).
 41    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.




* Amount(s) are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the
date of adjustment.
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          Case 14-40294            Doc 1       Filed 11/06/14 Entered 11/06/14 09:16:59                          Desc Main
                                                Document     Page 43 of 44
B22A (Official Form 22A) (Chapter 7) (04/13)
                                              Subpart C: Deductions for Debt Payment
       Future payments on secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of creditor, identify the property securing the debt, state the Average Monthly
       Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
       the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
       following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
       page. Enter the total of the Average Monthly Payments on Line 42.
 42                  Name of Creditor              Property Securing the Debt           Average         Does payment
                                                                                        Monthly         include taxes
                                                                                        Payment         or insurance?
         a.                                                                                                yes     no
         b.                                                                                                yes     no
         c.                                                                                                yes     no
                                                                                    Total: Add
                                                                                    Lines a, b and c.

       Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
       residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
       you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
       in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
       amount would include any sums in default that must be paid in order to avoid repossession or
       foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on
       a separate page.
 43
                       Name of Creditor                 Property Securing the Debt         1/60th of the Cure Amount
         a.
         b.
         c.
                                                                                          Total: Add Lines a, b and c
       Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
 44    as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
       filing. DO NOT INCLUDE CURRENT OBLIGATIONS, SUCH AS THOSE SET OUT IN LINE 28.
       Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
       following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
       expense.

         a.   Projected average monthly chapter 13 plan payment.
 45      b.   Current multiplier for your district as determined under schedules
              issued by the Executive Office for United States Trustees. (This
              information is available at www.usdoj.gov/ust/ or from the clerk of
              the bankruptcy court.)
                                                                                                                        %

         c.   Average monthly administrative expense of chapter 13 case                   Total: Multiply Lines a and b
 46    Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.

                                             Subpart D: Total Deductions from Income
 47    Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.

                                Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
 48    Enter the amount from Line 18 (Current monthly income for § 707(b)(2))

 49    Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))

 50    Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.
       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
 51
       enter the result.



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          Case 14-40294            Doc 1       Filed 11/06/14 Entered 11/06/14 09:16:59                              Desc Main
                                                Document     Page 44 of 44
B22A (Official Form 22A) (Chapter 7) (04/13)
       Initial presumption determination. Check the applicable box and proceed as directed.
              The amount on Line 51 is less than $7,475*. Check the box for "The presumption does not arise" at the top of page 1 of
              this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.

 52           The amount set forth on Line 51 is more than $12,475*. Check the box for "The presumption arises" at the top of page 1
              of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the
              remainder of Part VI.
              The amount on Line 51 is at least $7,475*, but not more than $12,475*. Complete the remainder of Part VI (Lines 53
              through 55).
 53    Enter the amount of your total non-priority unsecured debt
 54    Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.

       Secondary presumption determination. Check the applicable box and proceed as directed.

              The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the
 55
              top of page 1 of this statement, and complete the verification in Part VIII.

              The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises"
              at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                           Part VII: ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
       and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
       under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
       monthly expense for each item. Total the expenses.


 56                                           Expense Description                                                    Monthly Amount
         a.
         b.

         c.
                                                                         Total: Add Lines a, b, and c

                                                      Part VIII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct.
       (If this is a joint case, both debtors must sign.)



 57             Date: 11/6/2014                             Signature:     /s/ Cary Coles
                                                                           Cary Coles

                Date:                                       Signature:
                                                                                            (Joint Debtor, if any)




* Amount(s) are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the
date of adjustment.
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